         Case 1:17-cr-00106-GLR Document 860 Filed 07/23/24 Page 1 of 1



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

        v.                                         CRIMINAL NO. 17-0106-03

 DANIEL HERSL,

        Defendant.


                                    MOTION TO SEAL

       The United States is moving to seal portions of its Motion for Extension of Time, ECF No.

858, because it contains confidential information related to the Defendant’s diagnosis, medical

records, and treatment.

       WHEREFORE, the United States requests that the Court grant its Motion and seal the

redacted portions of its Motion.

                                                   Respectfully submitted,

                                                   Erek L. Barron
                                                   United States Attorney


                                                   ___/s/__________________
                                                   Matthew P. Phelps
                                                   Assistant United States Attorney
                                                   U.S. Attorney’s Office
                                                   District of Maryland
                                                   36 South Charles Street
                                                   Baltimore, Maryland 21201
                                                   (410) 209-4800
                                                   matthew.phelps@usdoj.gov




                                               1
